Case 3:09-cv-00620-REP Document 883-5 Filed 02/07/12 Page 1 of 4 PageID# 28214




                   EXHIBIT 4
              Case 3:09-cv-00620-REP Document 883-5 Filed 02/07/12 Page 2 of 4 PageID# 28215
                                                                                                                                                                               3
                                                                                    1
                                                                                                       1                       P R O C E E D I N G S

                                                                                            00:22:38   2
          1                IN THE UNITED STATES DISTRICT COURT

          2                FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                            00:22:39   3                 THE CLERK: Civil action number 3:09CV00620, ePlus,

          3                          RICHMOND DIVISION                                      00:22:55   4    Inc., versus Lawson Software, Inc. Will counsel please state

          4                                                                                 00:29:23   5    their names for the record and identify the parties they
          5      --------------------------------------
                                                          :
                                                                                            00:29:26   6    represent.
          6       ePLUS, INC.                             :    Civil Action No.
                                                          :    3:09CV620                    00:29:30   7                 MR. MERRITT: Greg Merritt, Christian & Barton, for
          7       vs.                                     :
                                                          :                                 00:29:33   8    ePlus.
          8       LAWSON SOFTWARE, INC.                   :    July 28, 2010
                                                          :
          9      --------------------------------------
                                                                                            00:29:35   9                 MR. ROBERTSON: Scott Robertson, Goodwin Procter

         10                                                                                 00:29:36   10   firm. With me are my partners.
         11             COMPLETE TRANSCRIPT OF THE MOTIONS HEARING                          00:29:41   11                MR. STRAPP: Michael Strapp.
         12                BEFORE THE HONORABLE ROBERT E. PAYNE
                                                                                            00:29:43   12                MS. ALBERT: Jennifer Albert.
         13                     UNITED STATES DISTRICT JUDGE
                                                                                            00:29:47   13                MR. CARR: Dabney Carr, Troutman Sanders, for Lawson
         14
                 APPEARANCES:                                                               00:29:50   14   Software.
         15
                 Scott L. Robertson, Esquire
         16      Michael G. Strapp, Esquire                                                 00:29:51   15                MR. McDONALD: Good morning, Your Honor. Dan
                 Jennifer A. Albert, Esquire
         17      Goodwin Procter, LLP                                                       00:29:53   16   McDonald, Merchant & Gould, representing Lawson Software, and
                 901 New York Avenue NW
         18      Suite 900
                 Washington, D.C. 20001
                                                                                            00:29:57   17   with me today, I'd like to introduce Kirstin Stoll-DeBell, also
         19
                 Craig T. Merritt, Esquire                                                  00:30:02   18   with Merchant & Gould, also representing Lawson Software.
         20      Christian & Barton, LLP
                 909 East Main Street                                                       00:30:07   19                MS. STOLL-DeBELL: Good morning.
         21      Suite 1200
                 Richmond, Virginia 23219-3095                                              00:30:09   20                THE COURT: Morning. I always think it's a good idea
         22      Counsel for the plaintiff

         23                                                                                 00:30:49   21   to throw counsel a curve ball. I always enjoyed it so much

         24                          Peppy Peterson, RPR                                    00:30:58   22   when judges did it to me.
                                   Official Court Reporter
         25                     United States District Court
                                                                                            00:30:59   23                I've decided, upon further reflection, that I would

                                                                                            00:31:02   24   like to hear your views on the damages issue reflected in

                                                                                            00:31:08   25   Lawson's -- what is it, motion in limine number one? Is that
                                                                                   2                                                                                           4
         1    APPEARANCES: (cont'g)
                                                                                            00:31:19   1    what it is?

         2    Dabney J. Carr, IV, Esquire                                                   00:31:19   2                 MR. McDONALD: That's one of them, Your Honor.
              Troutman Sanders, LLP                                                         00:31:20   3    There's one, two, and three all related to the damages issue.
         3    1001 Haxall Point
                                                                                            00:31:25   4                 THE COURT: I mean the settlement.
              Richmond, Virginia 23219
         4                                                                                  00:31:27   5                 MR. McDONALD: That's where you want to start?

              Daniel W. McDonald, Esquire                                                   00:31:30   6                 THE COURT: No, we'll start with the motion for
         5    Kirstin L. Stoll-DeBell, Esquire
                                                                                            00:31:32   7    summary judgment, but I would like somebody to -- I'd like for
              Merchant & Gould, PC
         6    80 South Eighth Street
                                                                                            00:31:36   8    you to address that. I don't want a lot of -- we don't have a

              Suite 3200                                                                    00:31:41   9    lot of time to do this, and we've got a lot to do, so get right
         7    Minneapolis, Minnesota 55402
                                                                                            00:31:44   10   to the point. All right, the motion for summary judgment on
              Counsel for the defendant
                                                                                            00:31:48   11   the written description.
         8
                                                                                            00:31:51   12                MR. McDONALD: Thank you, Your Honor. May it please
        9                                                                                   00:31:55   13   the Court, I have some binders with PowerPoint slides I'd like
       10
                                                                                            00:31:59   14   to hand up.
       11
       12                                                                                   00:31:59   15                THE COURT: Is that a question of law or fact?
       13                                                                                   00:32:01   16                MR. McDONALD: It's a question of fact, but the facts
       14
                                                                                            00:32:04   17   are undisputed. Can I hand up the binders?
       15
       16                                                                                   00:32:25   18                THE COURT: I'm sorry, it's in paragraph four of what

       17                                                                                   00:32:29   19   is to be argued.
       18
                                                                                            00:32:30   20                MR. McDONALD: That was just a fast ball, not a curve
       19
       20                                                                                   00:32:34   21   ball.

       21                                                                                   00:32:35   22                THE COURT: I don't know. Maybe that was a slider.
       22                                                                                   00:32:38   23   All right.
       23
                                                                                            00:32:40   24                MR. McDONALD: Is the PowerPoint visible on the
       24
       25                                                                                   00:32:44   25   screen right now for Your Honor?
1 of 64 sheets                                                                    Page 1 to 4 of 254                                                       08/09/2010 02:19:32 PM
                 Case 3:09-cv-00620-REP Document 883-5 Filed 02/07/12 Page 3 of 4 PageID# 28216
                                                                                 181                                                                                     183
 06:51:11    1   because you said it doesn't have anything to do with                    06:53:43    1   thinking the thing through as if logic dictated that these

 06:51:14    2   pre-filing. On the willful infringement issue, that's the only          06:53:49    2   things follow one unto the other. That isn't exactly how the

 06:51:17    3   issue it's relevant to; right?                                          06:53:53    3   trial of the case works. We're looking at whether or not it's

 06:51:19    4             MS. STOLL-DeBELL: Post-filing.                                06:53:58    4   probative in your case. All right. Anything else that you

 06:51:20    5             THE COURT: Okay. Now, how does it play out                    06:54:03    5   wish to say on any of these things?

 06:51:21    6   post-filing? Tell me about that.                                        06:54:06    6             MS. STOLL-DeBELL: I don't think so, Your Honor.

 06:51:23    7             MS. STOLL-DeBELL: There is going to be evidence of            06:54:08    7             THE COURT: Okay.

 06:51:25    8   when they say Lawson started infringing these patents. They             06:54:10    8             MR. ROBERTSON: One point on that last issue, Your

 06:51:28    9   have to put it on for their damages case, and we're talking             06:54:13    9   Honor.

 06:51:31   10   about which version they say infringed and when they say Lawson         06:54:14   10             THE COURT: Yes, since you have the burden on the

 06:51:35   11   started infringing.                                                     06:54:15   11   motion.

 06:51:36   12             So those are going to be facts that come into the             06:54:17   12             MR. ROBERTSON: If it's all the same and 8.0.3

 06:51:39   13   case. So the jury will hear about that, and it will be a fact           06:54:20   13   doesn't infringe, they don't willfully infringe, what's the

 06:51:43   14   that these prior versions, anything before 8.0.3, does not              06:54:23   14   relevance of 5.0 and 6.0?

 06:51:48   15   infringe. And we will have witnesses --                                 06:54:26   15             THE COURT: Because they looked at 5.0 and 6.0 which

 06:51:51   16             THE COURT: They're not going to prove that. They're           06:54:31   16   you didn't accuse of infringing, so they didn't think they were

 06:51:54   17   not going to offer that evidence -- are you, Mr. Robertson? He          06:54:34   17   infringing, and they thought you were all wet.

 06:51:58   18   said he wasn't.                                                         06:54:37   18             MR. ROBERTSON: If it hasn't changed, what they're

 06:51:58   19             MR. ROBERTSON: No. I'm going to prove that 8.0.3              06:54:39   19   saying is then it's invalidated because it predates the

 06:52:02   20   and subsequent versions infringe.                                       06:54:41   20   patents. If they're not infringing now, they're not willfully

 06:52:04   21             THE COURT: But you're not going to say, in doing              06:54:44   21   infringing, it makes the relevance of 5.0 and 6.0 that they

 06:52:06   22   that, earlier versions they had didn't infringe. That's not             06:54:48   22   didn't infringe even earlier pre-attenuated and marginal in my

 06:52:10   23   going to be part of your case.                                          06:54:53   23   view. Thank you.

 06:52:11   24             MR. ROBERTSON: Not going to be part of my case.               06:54:57   24             THE COURT: This motion is going to be granted. This

 06:52:13   25             THE COURT: So now it comes in, you say, to deal with          06:55:02   25   report goes somewhat considerably off the reservation

                                                                                 182                                                                                     184
 06:52:18    1   -- when it comes in as part of your case.                               06:55:11    1   established by the previous orders of the Court beginning with

 06:52:21    2             MS. STOLL-DeBELL: Well, yeah. I mean, at a minimum,           06:55:20    2   the requirements that contentions, invalidity contentions be

 06:52:23    3   it's part of our cross-examination of Dr. Weaver, that he is            06:55:25    3   stated at a certain time, and then Lawson was given a second

 06:52:26    4   not asserting that these prior versions infringed, and he is            06:55:33    4   bite at the apple and told to restate them, and those orders

 06:52:30    5   asserting --                                                            06:55:38    5   were put in place in order that everybody would know how the

 06:52:30    6             THE COURT: I'm going to tell you what that's going            06:55:43    6   discovery was to proceed, what were the contentions, what are

 06:52:32    7   to come up with. That's going to come up with what you call an          06:55:49    7   the contentions, what do we then direct the discovery to.

 06:52:35    8   objection, and it's going to be sustained most likely. You've           06:55:54    8             They are not just pro forma requirements of throwing

 06:52:43    9   got to realize that you've got to try cases in the order that           06:55:58    9   up pieces of paper into the file that contain something about

 06:52:46   10   the issues are presented.                                               06:56:03   10   invalidity. They shape -- they are the skeleton of the case to

 06:52:47   11             Now, this is something that you need to raise, so the         06:56:08   11   which the flesh and muscles and viscera are attached by

 06:52:50   12   question is, can you put in evidence probative of your state of         06:56:14   12   discovery, and they mean something.

 06:52:56   13   mind that when you got the lawsuit, you didn't think you were           06:56:21   13             To the extent that Dr. Shamos's report talks about

 06:53:01   14   infringing with the new 8.0.3 because it was just like all the          06:56:29   14   infringement issues -- I mean invalidity issues or infringement

 06:53:08   15   others and they didn't infringe.                                        06:56:34   15   issues beyond what was disclosed, that evidence cannot be

 06:53:10   16             MS. STOLL-DeBELL: Yes.                                        06:56:46   16   brought in. It just simply can't.

 06:53:14   17             THE COURT: So you have to then, you say, offer proof          06:56:49   17             When the validity contentions were filed in the

 06:53:18   18   that those earlier ones didn't infringe in order to be able to          06:56:54   18   second supplement on the issue of anticipation, it was said

 06:53:21   19   make that argument; right?                                              06:56:58   19   there were 14 claims that were infringed -- I mean anticipated.

 06:53:23   20             MS. STOLL-DeBELL: Right, but I think it's all tied            06:57:07   20   J-Con had one. Gateway was three claims. PO Writer was seven

 06:53:25   21   in to we don't think any of it infringes because it's all the           06:57:15   21   claims anticipated, and 542, King 542 anticipated three.

 06:53:29   22   same thing. So it's -- you know, we don't think any of them             06:57:24   22             Dr. Shamos says for the first three, J-Con, Gateway,

 06:53:34   23   had catalogs.                                                           06:57:29   23   and PO Writer, there were 13 each, and for King 542 there were

 06:53:35   24             THE COURT: What you're doing is thinking without              06:57:34   24   11, there were 50. He can't testify to anything but to the 14.

 06:53:37   25   putting it in context of a piece of litigation. You're                  06:57:40   25   That's been clear from the beginning.
08/09/2010 02:19:32 PM                                                       Page 181 to 184 of 254                                                              46 of 64 sheets
                  Case 3:09-cv-00620-REP Document 883-5 Filed 02/07/12 Page 4 of 4 PageID# 28217
                                                                                   253
 09:06:03    1    but at least it is irrelevant as to the method -- I mean as to

 09:06:08    2    the apparatus even in the acknowledgment of the defendant, and

 09:06:13    3    it is -- it is not cumulative evidence, it being the only

 09:06:19    4    actual system that shows the RQ in operation in the hands of

 09:06:25    5    the customer, and the prejudicial aspect, I think, that would

 09:06:28    6    arise from the missteps that the woman made can be cured by

 09:06:34    7    just letting the jury see the videotape and see how it works.

 09:06:39    8    But I'm going to instruct you both to review it carefully, and

 09:06:43    9    if what we've got is a comedy of errors, it's not going to come

 09:06:47   10    in because that's wasteful of the jury's time. So the motion

 09:06:52   11    will be provisionally denied.

 09:06:59   12              That leaves me with a few things to do; is that

 09:07:02   13    right? We don't have any more motions to argue; is that right?

 09:07:07   14              MR. McDONALD: That's correct, Your Honor. Your

 09:07:09   15    Honor, I wonder if I would have leave because I have a

 09:07:12   16    seven o'clock flight.

 09:07:13   17              THE COURT: Hit the road.

 09:07:15   18              MR. McDONALD: Thank you.

 09:07:17   19              THE COURT: You are cutting it close as it is.

 09:07:19   20              MR. McDONALD: I agree. Thank you, Your Honor.

 09:07:24   21              THE COURT: All right, Mr. McDonald is gone, but

 09:07:27   22    we're going to go. You all have a time to talk with Judge

 09:07:35   23    Dohnal?

 09:07:35   24              MR. ROBERTSON: August 19th.

 09:07:36   25              MR. CARR: Correct, Your Honor.


                                                                                    254



09:07:38     1               THE COURT:   August 19th.    Both of you have some

09:07:42     2     problems in the case, folks, problems that warrant a serious

09:07:47     3     look at whether you're going to settle it or not, and I will

09:07:53     4     say -- I wasn't saying this for settlement purposes.     I

09:07:58     5     genuinely believe that your damages case takes a hit for the

09:08:03     6     reasons that I expressed, and I wasn't trying to communicate

09:08:06     7     that for purposes of inviting you all to settle, but whereas

09:08:12     8     here you have liability problems, and you might make sure you

09:08:16     9     communicate this to Mr. McDonald, and you do, I think, have

09:08:20     10    some liability problems, and they have damage problems.

09:08:24     11              That usually provides a reasonably efficacious way in

09:08:29     12    which to try to reach an accommodation that businesspeople can

09:08:33     13    live with.   All right?   Thank you.   We will be in adjournment.

             14

             15                     (End of proceedings.)

             16

             17

             18              I certify that the foregoing is a correct transcript

             19    from the record of proceedings in the above-entitled matter.

             20

             21

             22           /s/                               __________________
                   P. E. Peterson, RPR                       Date
             23

             24

             25




08/09/2010 02:19:32 PM                                                            Page 253 to 254 of 254   64 of 64 sheets
